          Case 1:20-cv-06569-PAC-GWG Document 1 Filed 08/18/20 Page 1 of 7




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X          Case No.
JANE DOE,1

                                         Plaintiff,

                           - against -                                    COMPLAINT

CUBA GOODING, JR.,
                                                                          PLAINTIFF DEMANDS
                                          Defendant.                      A TRIAL BY JURY

---------------------------------------------------------------X

           Plaintiff, proceeding pseudonymously as “Jane Doe,” by and through her attorneys, Nisar

Law Group, P.C. and Allred, Maroko & Goldberg, hereby complains of the Defendant, Cuba

Gooding, Jr., upon information and belief, as follows:

                                            NATURE OF THE CASE

1.         Plaintiff complains pursuant to New York City’s Victims of Gender-Motivated Violence

           Protection Law, New York City Administrative Code § 10-1101, et seq. (“VGM”), and

           seeks damages to redress the injuries Plaintiff has suffered as a result of being a victim of

           violence committed on the basis of gender, and due, at least in part, to an animus based

           on gender.

                                         JURISDICTION AND VENUE

2.         This Court has jurisdiction pursuant to 28 U.S.C. § 1332, as the matter in controversy

           exceeds the sum or value of $75,000, exclusive of interest and costs, and is between

           citizens of different states.

3.         Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) because a substantial part

           of the events or omissions giving rise to this action, including the act(s) of violence


1    Plaintiff has concurrently filed with this Complaint a motion requesting leave to proceed pseudonymously.
                                                           1
      Case 1:20-cv-06569-PAC-GWG Document 1 Filed 08/18/20 Page 2 of 7




      committed on the basis of gender, occurred within this district.

                                            PARTIES

5.    At all times relevant, Plaintiff Jane Doe (“Plaintiff”) is an individual who was a resident

      of the State of New York. Plaintiff is female.

6.    At all times relevant, Defendant Cuba Gooding, Jr. (“Defendant”) is an individual who,

      upon information and belief, was a resident of the State of California. Defendant is male.

7.    Plaintiff and Defendant are herein referred to together as “the parties.”

                                      MATERIAL FACTS

8.    In or around August 2013, Plaintiff (who was an adult at the time) lived and worked in

      New York City.

9.    On August 24, 2013, Plaintiff met a friend for dinner and thereafter went to a restaurant/

      lounge in the Greenwich Village neighborhood of Manhattan.

10.   About an hour after arriving at restaurant/ lounge, Plaintiff and her friend went to the VIP

      lounge section. While in the VIP lounge, Plaintiff was approached by Defendant who

      introduced himself and invited her and her friend to join him and his friends at their

      (Defendant and his friends’) table. Plaintiff and her friend joined them.

11.   Shortly thereafter, he told Plaintiff that he and his friends were going to The Mercer and

      invited her and her friend to join them for drinks. By way of background, The Mercer is

      a hotel, which also includes a restaurant and bar on the ground level. Plaintiff understood

      that she and her friend would be joining Defendant and his friends at the restaurant or

      bar. The Mercer is approximately a quarter mile from the restaurant/ lounge where they

      were and is located in the Soho neighborhood of Manhattan.

12.   Defendant then got up and left the table. Plaintiff was talking to someone when a man

      who appeared to be a security guard approached the table and told her that Defendant
                                                 2
      Case 1:20-cv-06569-PAC-GWG Document 1 Filed 08/18/20 Page 3 of 7




      wanted her to meet him outside in a cab. Plaintiff spoke with her friend, and her friend

      confirmed that she would meet them there for drinks shortly.

13.   Plaintiff left the restaurant/ lounge through the front entrance and joined Defendant in a

      cab. When they arrived at The Mercer (which was only a short drive away), Defendant

      told Plaintiff to get out at the side entrance so that he could get out a different entrance so

      as to “avoid the paparazzi” (according to him).

14.   Once inside the The Mercer, Plaintiff stood in the lobby. Once Defendant saw her, he

      motioned for Plaintiff to join him in the elevator. Defendant told Plaintiff that he needed

      to change his clothes. Plaintiff suggested that she wait downstairs, however, Defendant

      told her that he would “be quick.”

15.   Defendant’s hotel room was on the fifth floor. Defendant and Plaintiff exited the elevator

      and entered his room, which was down the hallway from the elevator bank. Once they

      entered, Plaintiff told Defendant that her friend was joining them for drinks downstairs in

      an effort to suggest that they leave to head back down soon and politely convey that she

      did not have any interest in staying in his room.

16.   Nevertheless, Defendant put on music (Mumford & Sons, to be specific), and took a

      position between her and the hotel room door. Defendant then began taking his clothes

      off. Upon Defendant beginning to undress, Plaintiff told him that she had to leave to

      meet her friend downstairs and began standing up from the edge of the bed where she

      was sitting and attempted to move towards the door.

17.   As Plaintiff attempted to stand up, Defendant blocked her from the door and pushed her

      onto the bed. Plaintiff was wearing a halter top dress that evening. Defendant finished

      taking off his clothes (he was now completely naked) and forcibly and without consent

      put one hand in her halter top to touch Plaintiff’s breasts and one hand up her dress.
                                                3
      Case 1:20-cv-06569-PAC-GWG Document 1 Filed 08/18/20 Page 4 of 7




18.   Plaintiff told him “no” and tried to push his hands away. However, Defendant ignored her

      and forcibly stroked her genitals under her underwear. At this point, Defendant became

      physically aggressive and each time Plaintiff pushed Defendant’s hands away, he forcibly

      placed them back on her. Plaintiff told Defendant “no” numerous times but he wouldn’t

      stop.

19.   Defendant then forcibly pushed Plaintiff onto her back on the bed, during which

      Defendant, without invitation or consent, aggressively removed Plaintiff’s underwear and

      penetrated Plaintiff’s vagina with his erect penis. While penetrating Plaintiff, he pinned

      her down on the bed by holding her arms. Further, he did not put on a condom before

      doing this. Defendant sexually assaulted and raped Plaintiff until he ejaculated. It did

      not take Defendant long to ejaculate.

20.   Plaintiff remained on the bed after ejaculation and put her breasts back into her halter top

      and covered herself. Immediately after ejaculating, Defendant went to the bathroom.

      Plaintiff began to crawl in order to get off the bed and leave, however, Defendant

      returned from the bathroom (still naked) and got on the bed. As Plaintiff was attempting

      to get off the bed and get away from Defendant, Defendant, without her consent, got on

      top of Plaintiff from behind and penetrated Plaintiff anally with his penis. Defendant

      grabbed Plaintiff’s hips so as to prevent her from leaving the bed. Plaintiff told

      Defendant “no” many times, but Defendant did not stop.

21.   Defendant ejaculated again and upon ejaculation, laid on the bed. Plaintiff was afraid to

      move in fear that Defendant might rape her a third time. Nevertheless, Defendant fell

      asleep almost immediately, upon which Plaintiff went to the bathroom to clean herself.

      However, at this point she realized that Defendant had woken up as she heard him

      rustling in the bed.
                                               4
      Case 1:20-cv-06569-PAC-GWG Document 1 Filed 08/18/20 Page 5 of 7




22.   Plaintiff was in fear that she might be raped again, told Defendant she had to head

      downstairs in order to meet her friend, and hurriedly left the hotel room.

23.   Once downstairs, Plaintiff looked for her friend but could not find her. Plaintiff texted

      her friend and learned that her friend was still at the restaurant/ lounge where they first

      met Defendant. Plaintiff then returned to the restaurant/ lounge by cab (which was a

      short ride). Once at the restaurant/ lounge, she met up with her friend, and shortly

      thereafter, went home.

24.   Rape and sexual assault are, by definition, actions taken against the victim without the

      victim’s consent. Without consent, sexual acts such as those alleged here are a violation

      of the victim’s bodily autonomy and an expression of the perpetrator’s contempt for that

      autonomy. Coerced sexual activity is dehumanizing and fear-inducing. Malice or ill will

      based on gender is apparent from the alleged commission of the act itself. Animus

      inheres where consent is absent. See Breest v Haggis, 161137/17, 9783, 2019 N.Y. App.

      Div. LEXIS 9433, at *18 (N.Y. App. Div. 2019).

25.   The act or acts complained of demonstrate Defendant’s animus on the basis of gender.

26.   Defendant’s actions and conduct were intentional and intended to harm Plaintiff.

27.   As a result of Defendant’s treatment of Plaintiff, she has suffered emotional distress.

28.   As a result of the acts and conduct complained of herein, Plaintiff has suffered and will

      continue to suffer emotional pain, suffering, inconvenience, loss of enjoyment of life, and

      other non-pecuniary losses.

29.   As a result of the above, Plaintiff has been damaged in an amount in excess of the

      jurisdiction of the Court.

30.   Defendant’s conduct has been malicious, willful, outrageous, and conducted with full

      knowledge of the law. As such, Plaintiff demands Punitive Damages against Defendant.
                                                5
      Case 1:20-cv-06569-PAC-GWG Document 1 Filed 08/18/20 Page 6 of 7




                             AS A FIRST CAUSE OF ACTION
                                   UNDER THE VGM

31.   Plaintiff repeats, reiterates and realleges each and every allegation made in the above

      paragraphs of this Complaint as if more fully set forth herein at length.

32.   The VGM provides a civil cause of action for victims of crimes of violence “committed

      because of gender or on the basis of gender, and due, at least in part, to an animus based

      on the victim’s gender.” New York City Administrative Code § 10-1103.

33.   Under the VGM, the term “crime of violence” is defined as “an act or series of acts that

      would constitute a misdemeanor or felony against the person as defined in state or federal

      law … whether or not those acts have actually resulted in criminal charges, prosecution,

      or conviction.”

34.   Defendant subjected Plaintiff to a crime of violence committed because of gender or on

      the basis of gender, and due, at least in part, to an animus based on gender, causing her to

      suffer injury.

                                       JURY DEMAND

35.   Plaintiff demands a trial by jury.

WHEREFORE, Plaintiff respectfully requests a judgment against Defendant:

A.    Declaring that Defendant engaged in unlawful practices prohibited by New York City’s

      Victims of Gender-Motivated Violence Protection Law, and that Defendant committed a

      crime of violence motivated by gender against Plaintiff;

B.    Awarding damages to Plaintiff resulting from Defendant’s unlawful act(s) and to

      otherwise make her whole for any losses suffered as a result of such unlawful practices at

      the hands of Defendant;

C.    Awarding Plaintiff compensatory damages for mental, emotional and physical injury,

                                                6
     Case 1:20-cv-06569-PAC-GWG Document 1 Filed 08/18/20 Page 7 of 7




      distress, pain and suffering and injury to her reputation in an amount to be proven;

D.    Awarding Plaintiff punitive damages;

E.    Awarding Plaintiff attorneys’ fees, costs, and expenses incurred in the prosecution of the

      action;

F.    Awarding Plaintiff such other and further relief as the Court may deem equitable, just and

      proper to remedy Defendant’s unlawful practices.

Dated: New York, New York
       August 17, 2020
                                                            NISAR LAW GROUP, P.C.



                                                    By:
                                                            Casey Wolnowski, Esq.
                                                            570 Lexington Ave., 16th Floor
                                                            New York, New York 10022
                                                            Ph: (646) 449-7210
                                                            Fax: (877) 720-0514
                                                            Email: cwolnowski@nisarlaw.com

                                                            ALLRED, MAROKO & GOLDBERG



                                                    By:   _____________________________
                                                           Gloria Allred, Esq.
                                                           305 Broadway, Suite 607
                                                           New York, New York 10007
                                                           Ph: (212) 202-2966
                                                           Fax: (323) 653-1660
                                                           Email: gallred@amglaw.com
                                                           Attorneys for Plaintiff




                                               7
